Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 1 of 12 Page ID #:3551




   1 BLAISE & NITSCHKE, P.C.
     HEATHER L. BLAISE, ESQ. (SBN 261619)
   2
     123 N. Wacker Drive, Suite 250
   3 Chicago, IL 60606
     Telephone: 312-448-6602
   4
     Email: hblaise@blaisenitschkelaw.com
   5
     Attorneys for Plaintiff,
   6
     BEATBOX MUSIC PTY, LTD.
   7
                            UNITED STATES DISTRICT COURT
   8
   9                            CENTRAL DISTRICT OF CALIFORNIA
  10
       BEATBOX MUSIC PTY, LTD.,                                    CASE NO: 2:17-cv-6108 MWF (JPRx)
  11                                                               Assigned to the Hon. Michael W.
  12                           Plaintiff,                          Fitzgerald
  13                                v.                             PLAINTIFF BEATBOX MUSIC PTY,
  14 LABRADOR ENTERTAINMENT, INC.                                  LTD.’S RESPONSE TO LABRADOR
                                                                   ENTERTAINMENT, INC.,
  15 D/B/A SPIDER CUES MUSIC
                                                                   LABRADOR ENTERTAINMENT,
     LIBRARY, a California corporation;
  16                                                               LLC, NOEL WEBB AND WEBB
     NOEL PALMER WEBB, an individual;
                                                                   FAMILY TRUST’S MOTION FOR
  17 MICHAEL COHEN, an individual;
                                                                   JUDGMENT ON THE PLEADINGS
     LABRADOR ENTERTAINMENT, LLC;
  18                                                               AS TO THE FIRST AMENDED
     MCPC HOLDINGS, LLC; WEBB
                                                                   COMPLAINT’S 5TH, 7TH, & 8TH
  19 FAMILY TRUST and DOES 1-20,
                                                                   CAUSES OF ACTION
     inclusive,
  20
                            Defendants.
  21 MICHAEL COHEN, an individual,                                 Hearing Date:            January 11, 2021
                                                                   Time:                    10:00 AM
  22
                               Cross-Complainant,                  Courtroom:               5A
  23
                                    v.
  24
                                                                   Trial Date:        November 30, 2021
     LABRADOR ENTERTAINMENT, INC.
  25                                                               Cross-Claim Filed: November 21, 2017
     D/B/A SPIDER CUES MUSIC
                                                                   Action Filed:      August 17, 2017
  26 LIBRARY, a California Corporation,
  27
                               Cross-Defendant.
  28
                                                             -i-
        PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
       WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                       8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 2 of 12 Page ID #:3552




   1 LABRADOR ENTERTAINMENT INC.,
     D/B/A SPIDER CUES MUSIC
   2
     LIBRARY, a California Corporation, ET
   3 AL.,
                     Counter-Claimants,
   4
   5                                 v.
   6
     BEATBOX MUSIC PTY, LTD.,
   7 MICHAEL COHEN, and individual, and
   8 DOES 1-20, inclusive,
   9                           Counter-Defendants.
  10          Plaintiff Beatbox Music Pty., Ltd. (“Beatbox”) respectfully submits its
  11 Response in Opposition (“Response”) to the Motion for Judgment on the Pleadings
  12 (“Motion for Judgment,” “MFJ”) filed by Labrador Entertainment, LLC, Labrador
  13 Entertainment, Inc. d/b/a Spider Cues Music Laboratory, Noel Webb, and the Webb
  14 Family Trust (collectively, “Defendants”), as follows:
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                             - ii -
        PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
       WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                       8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 3 of 12 Page ID #:3553




   1                                              INTRODUCTION
   2          Defendants’ MFJ seeks judgment the pleadings under Federal Rule 12(c), and
   3 dismissal of Beatbox’s fifth, seventh, and eight causes of action with prejudice. MFJ
   4 at 2. Defendants assert that Beatbox’s Alter Ego Theory claim, plead as Count V of
   5 the FAC, is not cognizable as a standalone cause of action. Id. Defendants argue that
   6 Counts VII and VIII of the First Amended Complaint (“FAC”) fail because, they say,
   7 Beatbox cannot show it has suffered any prejudice as a result of the transfer at issue
   8 and because Plaintiff has adequate legal remedies. Id. Defendants state in their MFJ
   9 that both entities involved in the transfer—Labrador Entertainment, Inc. and Labrador
  10 Entertainment, LLC—are parties hereto, and face liability should Plaintiff prevail on
  11 its contract claims. Id.
  12          Labrador Entertainment, LLC also requests an order under Federal Rule 25(c)
  13 joining it as a defendant to Beatbox’s first cause of action (breach of contract) and
  14 third cause of action (express indemnity). MFJ at 3. Labrador Entertainment, LLC
  15 argues that its joinder is appropriate and serves all parties, based on its false assertion
  16 that the parties have agreed “that the contract at issue in this lawsuit has been
  17 transferred to that LLC.” Id.
  18                                        STANDARD OF REVIEW
  19          Under Rule 12(c), “[a]fter the pleadings are closed-but early enough not to
  20 delay trial-a party may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c).
  21 Judgment on the pleadings is properly granted when the court, accepting all the
  22 allegations in the pleadings as true and construing them in the light most favorable to
  23 the nonmoving party, concludes that the moving party is entitled to judgment as a
  24 matter of law. Fleming v. Pickard, 581 F.3d 922, 925 (9th Cir. 2009). No issue of
  25 material fact may be in dispute. Id. Importantly, Defendants’ MFJ never asks for
  26 judgment as a matter of law and only requests “dismissal.”
  27      When Rule 12(c) is used to raise the defense of failure to state a claim upon
  28 which relief can be granted, the standard governing a motion for judgment on the
                                                             -1-
        PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
       WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                       8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 4 of 12 Page ID #:3554




   1 pleadings is the same as that governing a Rule 12(b)(6) motion. See McGlinchy v.
   2 Shell Chemical Co., 845 F.2d 802, 810 (9th Cir. 1988). As a result, a motion for
   3 judgment on the pleadings for failure to state a claim may be granted “‘only if it is
   4 clear that no relief could be granted under any set of facts that could be proven
   5 consistent with the allegations.’” McGlinchy, 845 F.2d at 810 (quoting Hishon v.
   6 King & Spalding, 467 U.S. 69, 73 (1984)); see also Dworkin v. Hustler Magazine,
   7 Inc., 867 F.2d 1188, 1192 (9th Cir. 1989) (“The principal difference between motions
   8 filed pursuant to Rule 12(b) and Rule 12(c) is the time of filing. Because the motions
   9 are functionally identical, the same standard of review applicable to a Rule 12(b)
  10 motion applies to its Rule 12(c) analog.”).
  11          Thus, “[a] judgment on the pleadings is properly granted when, taking all
  12 allegations in the pleading as true, the moving party is entitled to judgment as a
  13 matter of law.” Enron Oil Trading & Transp. Co. v. Walbrook Ins. Co., 132 F.3d 526,
  14 528 (9th Cir. 1997) (citing McGann v. Ernst & Young, 102 F.3d 390, 392 (9th Cir.
  15 1996)). “Not only must the court accept all material allegations in the complaint as
  16 true, but the complaint must be construed, and all doubts resolved, in the light most
  17 favorable to the plaintiff.” McGlinchy, 845 F.2d at 810.
  18          To withstand a motion to dismiss, a plaintiff must allege “enough facts to state
  19 a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550
  20 U.S. 544, 570 (2007). A claim has “facial plausibility” if the plaintiff pleads facts that
  21 allow “the court to draw the reasonable inference that the defendant is liable for the
  22 misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662 (2009).
  23                                    ARGUMENT
  24 A.       Plaintiffs must plead the elements necessary to impose alter ego liability
  25          within any complaint filed herein.

  26          Defendants submit that Count V of Beatbox’s FAC must be dismissed. FAC at
  27 4-5. If the Court elects to dismiss Count V, Beatbox must be granted leave to amend
  28 the FAC to allege facts sufficient to support any alter ego theory of liability herein.
                                                             -2-
        PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
       WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                       8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 5 of 12 Page ID #:3555




   1          1. Two exceptions to the general rule against liability of individuals for
                 corporate acts apply in this case.
   2
              Defendants correctly state that, typically, individuals are not liable for the acts
   3
       of corporate defendants. FAC at 5. California law permits plaintiffs to recover from
   4
       individuals for the acts of corporate defendants where a corporate defendant is found
   5
       to serve as the “alter ego” of the individual, and where the individual is liable for
   6
       tortious conduct in connection with its role with the corporation. Misik v. D'Arco, 197
   7
       Cal. App. 4th 1065, 1074 (2011); In re Nassbridges, 434 B.R. 573, 582 (Bankr. C.D.
   8
   9 Cal. 2010). Plaintiff alleges that Webb directly ordered and authorized tortious
  10 conduct, including his fraudulent transfers that remain properly before this Court. See
  11 FAC at 12, 13, 16-18. Accordingly, Plaintiff has pleaded facts sufficient to give rise
  12 to liability under an alter ego theory of liability.
  13          2. Labrador Entertainment, Inc. and Labrador Entertainment LLC are
                 the alter egos of Noel Webb.
  14
              Taking the allegations of the FAC as true, the corporate defendants associated
  15
       with Webb are his alter egos. There exists a unity of interest and ownership between
  16
       Webb and Labrador Entertainment, Inc., Labrador Entertainment, LLC, and The
  17
       Webb Family Trust. FAC at 13. Further, adherence to the fiction of the separate
  18
       existence of corporate entities with which Webb is associated “would permit an abuse
  19
       of the corporate privilege and would sanction fraud and permit injustice.” FAC at 14.
  20
              Defendants argue that Count V sounding in “Alter Ego” is not a cause of action
  21
       under California law. MFJ at 4-5. As noted in Plaintiff’s response to the Motion for
  22
       Judgment on the Pleadings filed by other defendants hereto, ample authority exists to
  23
       suggest that pleading Alter Ego is appropriate under California law and Federal
  24
       practice. Cadence Design Sys. v. Pounce Consulting, Inc., No. 17-cv-04732-PJH
  25
       (SK), 2019 U.S. Dist. LEXIS 68125 (N.D. Cal. Apr. 1, 2019), Casitas A Footwear
  26
       Co. v. Lbsecond, Inc., No. CV 18-4410 FMO (SKx), 2018 U.S. Dist. LEXIS 198046,
  27
       at *7 (C.D. Cal. Nov. 19, 2018); Leek v. Cooper, 194 Cal. App. 4th 399, 417 (2011).
  28
                                                             -3-
        PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
       WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                       8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 6 of 12 Page ID #:3556




   1          Notably, the cases cited by Defendants in their MFJ all pre-date the opinion
   2 issued in Leek v. Cooper, which discussed a split of authority as to whether alter ego
   3 must be pleaded in a complaint, noting that a complaint must set forth facts
   4 sufficiently precise to place defendant(s) on notice about the complained-of conduct
   5 and remedies sought, and holding that “[t]o recover on an alter ego theory, a plaintiff
   6 need not use the words ‘alter ego,’ but must allege sufficient facts to show a unity of
   7 interest and ownership, and an unjust result if the corporation is treated as the sole
   8 actor.” Leek, 194 Cal. App. 4th at 415. (citing Signal Hill Aviation Co. v. Stroppe, 96
   9 Cl.App.3d 627, 636 (1979) and Vasey v. California Dance Co., 70 Cal.App.3d 742,
  10 749 (1977) (emphasis added)). A plaintiff will succeed on an alter ego claim in
  11 showing: “(1) such a unity of interest and ownership between the corporation and its
  12 equitable owner that no separation actually exists, and (2) an inequitable result if the
  13 acts in question are treated as those of the corporation alone.” Leek, 194 Cal. App. 4th
  14 at 415 (citing Sonora Diamond Corp. v. Superior Court, 83 Cal.App.4th 523, 538
  15 (2000)). Lopez v. Escamilla, 48 Cal. App. 5th 763, 765 (2020); Conde v. Sensa, 2016
  16 U.S. Dist. LEXIS 144313, *7-9 (S.D. Cal. Oct. 17, 2016); Zoe Mktg. v. Impressons,
  17 LLC, 2015 U.S. Dist. LEXIS 181789, *18-19 (S.D. Cal. June 1, 2015).
  18          Defendants’ MFJ asserts that, should this Court allow Plaintiff’s Alter Ego
  19 claim against them to stand, that Plaintiff’s allegations are insufficiently specific to
  20 state a claim for relief. MFJ at 5-7. Plaintiff has clearly met the requirements imposed
  21 by Rule 8 as explained in Pacific Bell Telephone Co. v. 88 Connection Corp. Pac.
  22 Bell Tel. Co. v. 88 Connection Corp., No. 15-cv-04554-LB, 2016 U.S. Dist. LEXIS
  23 77345, at *10-13 (N.D. Cal. June 14, 2016). The defendants in that case advanced a
  24 similar argument to the one advanced here, and have been advanced by other
  25 defendants herein: that Plaintiff has not pleaded facts to support its Alter Ego count
  26 against them with sufficient specificity Fed. R. Civ. P. 9(b).
  27       The Pac Bell Court explained:
  28
                                                             -4-
        PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
       WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                       8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 7 of 12 Page ID #:3557




   1          The defendants argue that the plaintiffs have not pleaded facts showing
              that the defendants acted in “bad faith” or with “fraudulent intent.” The
   2
              defendants contend that such allegations are necessary to pleading a
   3          viable alter-ego theory.
              It is not clear that they are necessary. Some cases do describe alter-ego
   4
              liability as entailing “conduct amounting to bad faith.” But the bulk of
   5          case law seems to omit or even expressly disavow a bad-faith or
              fraudulent-intent requirement. In a 2013 alter-ego decision, for
   6
              example, the California Court of Appeals held:
   7                  The trial court erred in requiring [the plaintiff] to prove
                      that the [defendants] acted with wrongful intent. The law
   8
                      does not require such proof. [The plaintiff] was required
   9                  to prove that the [defendants’] acts caused an “inequitable
  10                  result.” […] [T]he [defendants’] intent is beside the point.
              The Southern District of California reviewed this topic in 2012 and,
  11          citing both Ninth Circuit and California Supreme Court precedent,
  12          likewise concluded that alter-ego liability does not require bad faith:
                      [T]he California Supreme Court has declared that it is not
  13                  necessary that the party asserting the alter-ego theory
  14                  prove actual fraud. It is enough if the recognition of the
                      two entities as separate would result in an injustice. The
  15                  later alter-ego cases from the California Supreme Court,
  16                  namely Mesler and Resnick, are silent on whether bad faith
                      or fraud must be proven in order to satisfy the second
  17                  prong of the alter-ego doctrine, though neither required
  18                  such a showing. The Ninth Circuit has recognized Mesler
                      and Resnick and has applied them without requiring a
  19                  showing of fraud or bad faith.
  20          This court is bound by the Ninth Circuit’s view of California […] that
              bad faith is not an alter-ego requisite. The court need go no further into
  21          the matter now. Even if bad faith is necessary to a viable alter-ego
  22          theory, the plaintiffs have sufficiently pleaded facts that would allow a
              fact-finder “to draw the reasonable inference” that the defendant acted
  23          with the necessary intent[.]
  24 Pac. Bell Tel. Co. v. 88 Connection Corp., No. 15-cv-04554-LB, 2016 U.S. Dist.
  25 LEXIS 77345, at *10-13 (N.D. Cal. June 14, 2016)(internal citations omitted).
  26          Similarly, sufficient facts are alleged in to Count V and the FAC has already
  27 been found to sufficiently allege facts to support Count VII and Count VIII. See
  28 Order at 3, 25, 26 (“Beatbox’s seventh and eighth claims of statutory and common
                                                             -5-
        PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
       WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                       8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 8 of 12 Page ID #:3558




   1 law fraudulent conveyance because they are sufficiently pled and ripe for
   2 adjudication”; “Beatbox has also asserted a claim for fraudulent conveyance under
   3 California common law. (FAC ¶¶ 85-89). Because the necessary elements and
   4 available remedies for a fraudulent transfer under common law are the same as under
   5 the UFTA, the common law claim is adequately pled for the same reasons stated
   6 above. See, e.g., Lehman Bros. Holdings Inc. v. Cafcalas, No. LA CV-16-03167 JAK
   7 (PJWx), 2018 WL 6074597, at *6 (C.D. Cal. Feb. 27, 2018) (citation omitted).
   8          This Court has already ruled that Plaintiff has alleged its claims with sufficient
   9 specificity to withstand a motion for summary judgment. Defendants’ MFJ should be
  10 denied. To the extent that this Court deems any allegations lacking with respect to the
  11 Alter Ego Count V of the FAC and/or Counts VII and VIII, in which fraud and/or bad
  12 faith are alleged, Plaintiff respectfully seeks leave to amend with greater specificity.
  13          3. Beatbox alleges Defendants’ participation in multiple tortious acts.
  14          Defendants also incorrectly assert that “this is a breach of conduct lawsuit, and
  15 Beatbox’s operative complaint does not contain any tort claims.” MFJ at 7. They then
  16 urge this Court, without citation to any authority, to ignore the common law “tortious
  17 conduct” exception as a separate basis of individual liability for the acts of a
  18 corporate defendant. Id. However, Plaintiff’s FAC includes claims for fraudulent
  19 transfer. See generally, FAC, Dkt. 105 at 12-18. California’s federal courts recognize
  20 fraudulent transfers as tortious. See Gottex Fund Mgmt. v. MKA Real Estate
  21 Opportunity Fund I, LLC, 2013 U.S. Dist. LEXIS 198339 *10 (N.D. Cal. 2013).
  22 Thus, Beatbox has pleaded that Mr. Webb has engaged in tortious conduct.
  23 B.    Beatbox’s fraudulent conveyance claims must stand.
  24          Defendants suggest that neither California’s Uniform Fraudulent Transfer Act
  25 (“UFTA”) nor the Uniform Voidable Transactions Act (“UVTA”) apply in this case.
  26 MFJ at 8. Beatbox cannot succeed on its fraudulent transfer claims because, they say,
  27 Beatbox cannot show that it has suffered any prejudice where “no property has been
  28 put ‘beyond [its] reach.’” MFJ at 9. In a convoluted attempt to avoid the implications
                                                             -6-
        PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
       WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                       8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 9 of 12 Page ID #:3559




   1 of their actions, Defendants posit that this Court may join Labrador Entertainment,
   2 LLC, as a defendant to Plaintiff’s breach of contract claims as the transferee. MFJ at
   3 9-10. Its joinder, they say, would then render the fraudulent transfer causes of action
   4 against Labrador Entertainment, LLC and Labrador Entertainment, Inc. inviable
   5 where the assets alleged to be fraudulently conveyed would thereby still be within
   6 Plaintiff’s “reach” by virtue of its contract claims. MFJ at 9-10. Defendants suggest,
   7 without any authority, that this Court has the power to “ultimately hold either
   8 [Labrador Entertainment, Inc. or Labrador Entertainment, LLC] liable for the amount
   9 of any judgment” and that “[Beatbox] faces no prejudice as a result of the transfer.”
  10 MFJ at 8. In fact, Defendants go even further. They assert that remedies available to
  11 Beatbox for breach of contract claims “already afford sufficient relief.” However,
  12 Labrador Entertainment, Inc. is insolvent as testified to by Defendant Noel Webb has
  13 already testified that Labrador Entertainment, Inc. is insolvent; he has raided the
  14 assets of Labrador Entertainment, Inc. and collects money payable to Labrador
  15 Entertainment, Inc. and pays it to different entities based on a subjective process
  16 conceptualized and executed entirely by Webb, himself. See excerpt of December 3,
  17 2019 Deposition of Noel Webb, transcript, attached hereto as Exhibit A, at 210-215.
  18 Moreover, Defendant Webb has further continued transferring the copyright assets of
  19 Labrador Entertainment, Inc. as recently as December 11, 2020. See, e.g., December
  20 11, 2020 email attached hereto as Exhibit B.
  21              Defendants cite Federal Rule 25(c) 1 in support of their argument that this Court
  22 may join Labrador Entertainment, LLC as a breach of contract defendant. Id. Neither
  23
  24   1
         Rule 25, entitled “Substitution of Parties,” provides in pertinent part that “if an
  25   interest is transferred, the action may be continued by or against the original party
       unless the court, on motion, orders the transferee to be substituted in the action or
  26   joined with the original party.” F.R.C.P. 25(c). Importantly, the motion must be
  27   served as provided in Rule 25(a)(3), which requires that a motion to substitute,
       together with a notice of hearing, must be served on the parties as provided in Rule
  28   5 and on nonparties as provided in Rule 4. F.R.C.P. 25(a)(3).
                                                                 -7-
            PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
           WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                           8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 10 of 12 Page ID
                                 #:3560



 1 Plaintiff nor Defendants have filed any motion seeking to join or substitute Labrador
 2 Entertainment, LLC as a breach of contract defendant herein. Accordingly, pursuant
 3 to Federal Rule 25(c), this action may be properly continued against Labrador
 4 Entertainment, Inc., as pleaded in the FAC. See F.R.C.P. 25(c). Defendants cannot
 5 avoid the motion and service requirements of Rule 25 by simply requesting joinder of
 6 Labrador Entertainment, LLC to Plaintiff’s breach of contract claims in the hope that
 7 this Court will further dismiss any equitable claims against Defendants in light of an
 8 asserted adequacy of Plaintiff’s remedies at law.
 9 C.           Dismissal of Beatbox’s claims with prejudice is unwarranted.
10              Defendants seek dismissal of the fifth, seventh and eighth claims without leave
11 to amend. MFJ at 11-12. Incredibly, this request for relief appears in the same MFJ as
12 Defendants’ argument that this Court should add a defendant to Plaintiff’s breach of
13 contract claim. See MFJ at 9-12. Defendants would have this Court first join what it
14 admits are proper defendants to this action and simultaneously dismiss claims against
15   them without the benefit of discovery. 2
16              Defendants note that federal Rule 12(c) does not expressly authorize courts to
17 grant leave to amend a defective pleading after granting a motion for judgment on the
18 pleadings. MFJ at 11. However, Rule 15(a) provides that “leave [to amend] shall be
19 freely given when justice so requires.” Fed. R. Civ. P. 15(a)(2). Generally, leave to
20 amend is “denied only upon showing of bad faith, undue delay, futility, or undue
21 prejudice...” Chudacoff v. Univ. Med. Gtr. of S. Nevada, 649 F.3d 1143, 1152 (9th
22 Cir. 2011). Rule 15(a) “is to be applied with extreme liberality,” Morongo Band of
23 Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
24              As with a 12(b)(6) motion, dismissal without leave to amend is appropriate
25 only when it is “clear” that the challenged claims “could be saved by any
26
27
    Plaintiff intends to issue additional written discovery on December 22, 2020 to
     2

28 further uncover the extent to which Defendants have gone to fraudulently transfer and
   conceal assets as revealed in the depositions already taken in this case.
                                                               -8-
          PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
         WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                         8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 11 of 12 Page ID
                                 #:3561



 1 amendment.” Harris v. Amgen, Inc., 573 F.3d 728, 737 (9th Cir. 2009). None of the
 2 cases relied upon by Defendants establish that any amendment would be futile.
 3          In re Yahoo! Inc. Shareholder Derivative Litig., 153 F.Supp.3d 1107 (N.D.
 4 Cal. 2015), the District Court examined claims for relief brought derivatively on
 5 behalf of Yahoo! Inc. for breaches of fiduciary duty and waste of corporate assets. In
 6 re Yahoo!, 153 F.Supp.3d at 1112-13. The defendants sought dismissal on two
 7 grounds: 1) the plaintiffs’ failure to plead demand futility; and 2) their failure to state
 8 claims under 12(b)(6). Id. at 1113. In granting the defendants’ motions, the court
 9 noted that “[a]ny further amended complaint would have to plead demand
10 futility…and demand plainly could not be excused given that…all of Yahoo’s current
11 directors joined the board after the events at issue in this litigation. Id. at n. 14.
12 Defendants’ reliance on In re Yahoo! ignores the facts here, Plaintiff has adequately
13 alleged fraud-based claims and its alter ego claim is supported by ample facts and
14 additional discovery is likely to result in additional information to support Plaintiff’s
15 claims. This is not a case like In re Yahoo! where no facts that could be alleged that
16 would allow Plaintiff to state a claim against Defendants. Id. at n.14 (dismissing
17 claims without leave to amend where plaintiffs had “not identified any facts that
18 indicate amendment could cure the defects in the Complaint”).
19          Defendants’ reliance on Pixion, Inc. v. Citrix Sys. Inc., No. 09-cv-03496, 2012
20 WL 762005, at *8 (N.D. Cal. Mar. 8, 2012) frankly defies understanding. Pixion is a
21 patent infringement case, addressing questions of the conduct raised by counterclaims
22 asserting that the patents at issue were invalid by virtue of the conduct. Pixion, 2012
23 WL 762005 at *1. In Pixion, the United States District Court for the Northern District
24 of California granted the plaintiff/counter-defendant’s motion for judgment on the
25 pleadings and denied leave to amend. Id. at *22. In so doing, it evaluated the
26 plaintiff’s intent to deceive, a requirement for proving inequitable conduct as alleged
27 by the defendant in its counterclaim. Id. at *21. It found that amendment of the
28
                                                           -9-
      PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
     WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                     8TH CAUSES OF ACTION
Case 2:17-cv-06108-MWF-JPR Document 172 Filed 12/21/20 Page 12 of 12 Page ID
                                 #:3562



 1 defendant/counter-plaintiff’s claims would be futile because a future finding of
 2 specific intent to deceive was not factually supported. Id. at *22.
 3          Here, contrary to Defendants’ argument, should this Court find that either
 4 Beatbox’s alter ego cause of action or either of its fraudulent conveyance causes of
 5 action are currently insufficiently plead, Beatbox could still allege that it has suffered
 6 harm sufficient to justify relief under California’s voidable transfer statutes, including
 7 the inadequacy of its remedies at law.
 8          Should this Court dismiss Count V, Plaintiff respectfully requests leave to
 9 amend the FAC to incorporate allegations of alter ego liability in Plaintiff’s
10 remaining claims. See, e.g., Fund Raising v. Alaskans for Clean Water, 2009 U.S.
11 Dist. LEXIS 106549, *13. Although Plaintiff has pled sufficient facts to establish
12 alter ego liability, assuming arguendo that the Court dismisses Count V, Plaintiff
13 respectfully requests leave to amend to FAC to make additional allegations of alter
14 ego liability. As a result, this Court should grant Plaintiff leave to amend the FAC to
15 properly comport with the pleading requirements of California law.
16                                                CONCLUSION
17          WHEREFORE, for the reasons stated hereinabove, Plaintiff respectfully
18 requests that this Court enter an order denying Defendants’ MFJ or, in the alternative,
19 granting Plaintiff leave to amend its First Amended Complaint, and for any and all
20 such other further relief as this Court deems necessary and proper.
21 DATED: December 21, 2020                            Respectfully submitted,
22
                                                       BEATBOX MUSIC PTY, LTD.
23                                                      /s/ Heather L. Blaise
24                                                     HEATHER L. BLAISE, ESQ. (SBN 261619)
25                                                     123 N. Wacker Drive, Suite 250
                                                       Chicago, IL 60606
26
                                                       Telephone: 312-448-6602
27                                                     Email: hblaise@blaisenitschkelaw.com
28                                                     Attorney for Plaintiff
                                                          - 10 -
      PLAINTIFF BEATBOX MUSIC PTY, LTD.’S RESPONSE TO LABRADOR ENTERTAINMENT, INC., LABRADOR ENTERTAINMENT, LLC, NOEL
     WEBB AND WEBB FAMILY TRUST’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO THE FIRST AMENDED COMPLAINT’S 5TH, 7TH, &
                                                     8TH CAUSES OF ACTION
